
McKinney, J.
delivered the opinion of the court.
This is an action of trespass in the case to' recover damages for the loss of a slave, alleged to have been occasioned by the wrongful act of the defendant. It appears from the face of the declaration, that a former suit had been instituted by the plaintiffs against the defendant for the same cause of action; but a recovery was had for only one-half of the damages sustained by the loss of said slave — upon the ground, as it seems, of the mistaken assumption by the jury, that there was another joint owner of the slave, not joined as a party plaintiff in said action. The judgment, in that action was acquiesced in by the plaintiffs; and this suit is brought to recover the other moiety of the damages occasioned by the loss of said slave.
Among other grounds of defence, the defendant has pleaded the former recovery in bar of this action. To which the plaintiffs replied, nul tiel record. This Issue was found by the court in favor of the defendant, and judgment was rendered that he go hence, &amp;c.; from which the plaintiffs appealed in error to this court.
It is very clear that this action cannot be maintained. *344In the former suit, the plaintiffs assumed to be the sole legal owners of the slave, and claimed damages for the entire loss; and if the jury, either for- want of sufficient proof, or from a total misapprehension or disregard of the-proof, or for any other cause, rendered a verdict for a less amount of damages than the plaintiffs were entitled to recover, such verdict and judgment thereon would be conclusive upon the parties. And, in this respect, there is no difference between actions founded upon torts, and contracts. In neither class of cases, can an entire, indivisible cause of action be split up into separate suits. If the facts be as alleged in the declaration, the plaintiffs should have applied to have the verdict set aside; and, if this had been refused, have prosecuted an appeal or writ of error. Having failed to do this, the judgment is a conclusive bar.
The judgment • of the Circuit Court will be affirmed.
